Case 2:04-CV-02556-SHI\/|-tmp Document 45 Filed 05/24/05 Page 1 of 3 Page|D 70

 

 

IN THE UNITED sTATEs DISTRICT COURT _ M -
FoR THE WESTERN DISTRICT oF TENNEssEE
WESTERN DIvIsIoN »-,.,…;q~ pa ;;-t §§ 30

CHRISTOPHER LEE sCALLloNs,

Plaintiff,
v. NO. 04~2556

Judge Mays

L-AUDERDALE COUNTY, el al, Magistrate Judge Pham

Defendants

oRDER

 

Upon consent of the plaintiff and Lauderdale County, based upon this court’s Order
granting Dyer County’s Motion to Disrniss the plaintiff’s claim brought pursuant to the
Tennessee Governmental Tort Liability Act (“TGTLA”)(TCA 29-20-205), the parties agree that
the TGTLA against Lauderdale County should be dismissed Without prejudice Therefore, it is

. . . . - '![,‘__,* fe-uq/.r'£€.
ORDERED that the TGTLA claim against Lauderdale County is dismissed_, W» f d

This aqu`day of May, 2005

`.l//J/WL,,

Samue] H. Mays, Jr.
United States District Judge

 

Approved for Entry:
GLANKLER BROWN THOMASON, HENDRIX, HARVEY,
JOHNSON & MITCHELL, PLLC

By; dé./,z. M By-@)uam/§W

Robert F_.Hutton Kernpler B. Durand
Attorney for Plaintiff Attorney for Lauderdale County

 

E"h:s document entered on th

a Cde nk %LC'_)/
9 heetf Om
vlll'l HUlS 58 and/Or 79( ) FR 0 [§v,, pila_l' Ce

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:04-CV-02556 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

David Michael Dunavant

CARNEY WILDER & DUNAVANT
Bank of Ripley Building

Ripley7 TN 38063

.1. Thomas CaldWell
CALDWELL & FITZHUGH
114 .1 efferson Street

Ripley7 TN 38063

Robert L. Hutton
GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Kernper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Adam F. Glankler
GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

Michael W. Whitaker
WH[TAKER LAW FIRM
P.O. Box 1024
Covington, TN 38019

Case 2:04-cV-02556-SHI\/|-tmp Document 45 Filed 05/24/05 Page 3 of 3 Page|D 72

C. Barry Ward

GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

.1 ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable Sarnuel Mays
US DISTRICT COURT

